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UN:TED STATES DISTRICT COURT ~~'"~-'“~

wEsTERN DJ:STRICT oF TENNESSEE
wEsTERN DIvIsIoN 05 AUB 31 PH 51 25

 

UNITED STATES OF AMERICA,

Plaintiff,
v. Case Number 05-20167-Ma
ROBERT LESTER,
Defendant.
J'UDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that the Indictment returned

against Robert Lester is dismissed in accordance with the Order
docketed August 25, 2005.

APPROVED:

M/WZ___

SAMUEL H. MAYS, JR.
U'NITED S'I‘A'I‘ES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

